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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
ANDREW G. MCCABE,                                    )
                                                     )
                       Plaintiff,                    )
                                                     )
        v.                                           )
                                                     )        Civil Action No. 19-2399 (RDM)
MERRICK B. GARLAND,                                  )
in his official capacity as                          )
ATTORNEY GENERAL OF THE                              )
UNITED STATES, et al.,                               )
                                                     )
                       Defendants.                   )
                                                     )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby stipulate to

the dismissal of this action with prejudice.

Date: October 14, 2021                              Respectfully Submitted,

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